Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 1 of 15
                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                                  May 10, 2018
                                                               David J. Bradley, Clerk
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 2 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 3 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 4 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 5 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 6 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 7 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 8 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 9 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 10 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 11 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 12 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 13 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 14 of 15
Case 4:18-cv-00770 Document 7 Filed in TXSD on 05/10/18 Page 15 of 15
